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           ORDERED in the Southern District of Florida on March 3, 2025.




                                                                      Laurel M. Isicoff, Judge
                                                                      United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov

           In re:                                                            Case No.: 24-21209-LMI

           SHIFTPIXY, INC.,1                                                 Chapter 7
                                                                             (Jointly Administered)
                    Debtors.                                             /

                                       ORDER ESTABLISHING LIMITED
                               NOTICE PURSUANT TO BANKRUPTCY RULE 2002(h)

                    THIS MATTER came before the Court on the ex parte motion by Jacqueline Calderin

           (the “Trustee”) to establish limited notice pursuant to Bankruptcy Rule 2002(h) (the




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             The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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“Motion”) [ECF# 200]. The Court, having considered the Motion, and finding good cause

therefor, does ORDER that:

        1.       The Motion is GRANTED.

        2.       Pursuant to Bankruptcy Rule 2002(h), matters in thess cases requiring notice

pursuant to Bankruptcy Rule (2002)(a) shall be limited to:

                 a. the debtor;

                 b. the trustee;

                 c. all indenture trustees;

                 d. creditors that hold claims for which proofs of claim have been filed;

                 e. creditors, if any, that are still permitted to file claims because an extension

                     was granted under Rule 3002(c)(1) or (c)(2); and

                 f. any Party who previously requested notice under Local Rule 2002.

        3.       Notwithstanding the foregoing, the Trustee shall continue to provide notice,

where required to the United States and its agencies via CM /ECF or U.S. Mail as required by

Bankruptcy Rule 2002(j) and this Court’s local rules, in addition to those parties and attorneys

who have formally requested notice by filing with the court a notice of appearance or request for

service of notices and papers in this case.

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Submitted by:
Jesse R. Cloyd
Florida Bar No.: 58388
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Agentis PLLC
Counsel for Chapter 7 Trustee
45 Almeria Avenue
Coral Gables, Florida 33134
T. 305.722.2002
Copy to: Attorney Cloyd, who is directed to serve a conforming copy herein upon all interested parties entitled to
notice in this case.




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